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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

CLINICOMP INTERNATIONAL, INC.,                 §
                PLAINTIFF,                     §
                                               §
V.                                             §      CAUSE NO. A-18-CV-00425-LY
                                               §
ATHENAHEALTH, INC.,                            §
               DEFENDANT.                      §


     ORDER DENYING MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM

       Before the court is the above styled and numbered patent-infringement action. Pending are

Defendant Athenahealth, Inc.'s ("Athenahealth") Defendant's Motion to Dismiss for Failure to State

a Claim filed July 13, 2018 (Clerk's Document No. 21), Plaintiff CliniComp International, Inc.'s

("CliniComp") Plaintiffs Response in Opposition to Defendant's Motion to Dismiss filed August

3,2018 (Clerk's Document No. 24), and Athenahealth' s Defendant's Reply in Support of Its Motion

to Dismiss for Failure to State a Claim filed August 17, 2018 (Clerk's Document No. 26).

       CliniComp' s complaint alleges that Athenahealth, a healthcare information technology

company that provides healthcare related information technology ("IT") services that support the

clinical, financial, and operational needs of healthcare organizations of all sizes, has infringed and

continues to infringe one or more claims of CliniComp's United States Patent No. 6,665,647, titled

"Enterprise Healthcare Management System and Method of Using Same" (the "647 patent")

       CliniComp is a privately held San Diego-based company that develops Electronic Health

Record ("EHR") and other IT solutions for hospitals, integrated delivery networks, academic medical

centers, and other acute-care providers in the United States and abroad. CliniComp pioneered the

integration of computer-based clinical documentation and medical devices almost 30 years ago.
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       In 1999, Chris Haudenschild, the named inventor of the '647 patent and sole founder of

CliniComp, conceived of a system that would take advantage of the Internet and solve what

Haudenschild recognized as the IT-infrastructure dilemma that, at the time, necessitated each

healthcare enterprise to host, maintain, and upgrade its own IT infrastructure.           Haudenschild

envisioned a system in which the primary components of the IT infrastructureservers and

databaseswould be hosted remotely from the healthcare enterprise in a manner that would allow at

least some resources to be shared by other healthcare enterprises. By doing so, a healthcare

enterprise could avoid the capital investment necessary to acquire and maintain its own IT

infrastructure, could benefit from the ability to easily upgrade existing capabilities and more easily

add new functions without incurring risks and costs. One major advantage of the remotely hosted

IT infrastructure is the ability of multiple healthcare enterprises to share resources but not necessarily

share data. Indeed, the integrity of each healthcare enterprise and the privacy of its employees and

patients must not be accessible by another healthcare enterprise.

        CliniComp alleges that Athenahealth's product "athenaOne"an integrated suite of cloud-

based services combining practice management (athenaCollector), an EHR system (athenaClinicals),

and care coordination (athenaCommunicator) into a single packaged offeringis infringing the '647

patent. Together, the athenaOne suite of cloud-based services and their components provide a single

instance of software that is accessible from anywhere and delivers real-time visibility into the

medical enterprise's clinical and financial operations.

        By its motion, Athenahealth contends CliniComp's complaint fails to state a claim for which

relief may be granted because the '647 patent fails to claim any patentable subject matter, the '647

patent is invalid.   See 35 U.S.C.   § 101   ("Section 101"); Fed. R. Civ. P. 12(b)(6). Athenahealth
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argues that the crux of the '647 patent is taking the age-old idea of storing written medical records

in off-site locked file cabinets and computerizing that method of storage. Athenahealth argues that

the sole patent claim explicitly referred to in the complaintClaim   1is directed only to the idea of
remotely and securely storing healthcare records of two healthcare providers in a searchable manner.

Athenahealth argues that this is the type of "well-understood, routine, conventional activit[y]

previously known to the industry" that is ineligible for patent protection underAlice Corp.    v.   CLS

Banklnt 'land   its progeny.    U.S.     ;   134 S.Ct. 2347,2359 (2014). Athenahealth contends that

if one strips away the generic computer terminology in the '647 patent's claims, it is apparent that

the method of Claim 1 could be performed by any record-keeper at an off-site location with a filing

cabinet.

       CliniComp responds that the '647 patent is about much more than remote record keeping.

The '647 patent identifies a problem faced by many and various types of healthcare

enterprisesmaintaining and upgrading their computer systems that handle everything from clinical

information systems for providing day-to-day patient management functions, pharmacy software that

tracks prescription and non-prescription drugs used by patients, and financial software that provides

accounting and asset management. CliniComp responds that the '647 patent discloses and claims

a solution to this problem, taking into account the complexities associated with providing a remotely

hosted information-management system for multiple independent healthcare enterprises, while

giving those enterprises the flexibility to retain certain legacy systems and have the data from those

systems available for search queries.
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         Every issued patent is presumed to have been issued properly, absent clear-and-convincing

evidence to the contrary. Ultramercial, Inc.   v.   Hulu, LLC, 722 F.3d 1335, 1338-39 (Fed. Cir. 2013),

vacated sub nom., on other grounds, WildTangent, Inc.        v.   Ultramercial, LLC,    U.S. ____; 134

S.Ct. 2870 (2014). When patent eligibility is challenged by a motion to dismiss for failure to state

a claim, the court applies the standard that is consistently applied in all areas of law. See Berkheimer

v.   HP, Inc., 890 F.3d 1369, 1372 (Fed. Cir. 2018) (order on petition for rehearing en banc). A

motion to dismiss will be denied if in reviewing the complaint in the light most favorable to the

plaintiff and with every doubt resolved in the pleader's favorbut disregarding conclusory

statementsthe complaint states any cognizable claim for relief. Whitley v. Hanna, 726 F.3d 631,

637 (5th Cir. 2013). Denying a motion to dismiss is not a holding that the challenged patent claims

are eligible. Berkheimer, 890 F.3d at 1373. "And the mere fact that there [are] sufficient allegations

in the pleading to state a claim for patent infringement does not mean that the case need go to trial."

Id. An accused infringer may move for summary judgment at anytime, the court can convert a Rule

1   2(b)(6) motion into a summary-judgment motion, and alternatively, the court can raise summary

judgment sua sponte. See Id.; Fed. R. Civ. P. 12(d), 56(f)(3). "Moreover, if the allegations in the

complaint about the invention as claimed ultimately lack evidentiary support or if the case is

exceptional, the court can award attorney's fees to the accused infringer under either [Federal] Rule

[of Civil Procedure]    11   or [Title 35 United States Code] Section 285 to compensate the accused

infringer for any additional litigation costs it incurs." Berkheimer, 890 F.3d at 1373.

          Section 101 describes the types of subject matter that are eligible for patent protection and

also "contains an important implicit exception: Laws of nature, natural phenomena, and abstract

ideas are not patentable." Alice Corp., 134 S.Ct. at 2354. The concern is that granting a patent
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monopoly on an abstract idea would impede innovation by tying up the building blocks of future

ingenuity. Id. At the same time, courts are to "tread carefully in construing this exclusionary

principle" for "at some level all inventions embody, use, reflect, rest upon, or apply laws of nature,

natural phenomena, or abstract ideas." Id. "An invention is not rendered ineligible for patent simply

because it involves an abstract concept." Id. (citing Diamondv. Diehr, 450 U.S. 175, 187 (1981)).

         A two-part test exists to determine whether a patent claim is directed to patentable subject

matter or, alternatively, to a "building block of human ingenuity." Alice Corp., 134 S.Ct. at 2354

(citing Mayo Collaborative Servs.    v.   Prometheus Labs., Inc., 566 U.S. 66, 88-89 (2012)). The first

part requires the court to determine whether each asserted claim is directed to a patent ineligible

"abstract idea." Id. If the court determines that each claim is directed to an abstract idea, the second

part of the test asks whether an "inventive concept" existswhether there is an element or

combination of elements that "ensure the patent in practice amounts to significantly more than a

patent upon the ineligible concept itself." Id. The court must also consider that "[a]n inventive

concept can be found in the nonconvetional and nongeneric arrangement of known, conventional

pieces." Bascom Glob. Internet Servs., Inc. v. AT&TMobilityLLC, 827 F.3d 1341, 1350 (Fed. Cir.

2016).

         Athenahealth argues first that the '647 patent fails because it is directed solely to an abstract

ideathe computerization of file storage; that is, the patent addresses only the abstract processes of

collecting and analyzing information and then storing the information on a remote computer.

Second, Athenahealth argues that there is no inventive concept, because lacking from the patent are

technical details about the structure of the applicable software or the computer hardware.




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        CliniComp responds that the ordered combination presented in the '647 patent demonstrates

that there is an inventive concept independent of the combination's implementation on a computer.

CliniComp argues that the claims are directed to very specific concrete methods of operating a

healthcare-management system, including limitations on how data is communicated, how data is

stored, how the database is configured, and how access to the database is restricted.

        Having reviewed the complaint, the motion, response, and reply, the case file, and the

applicable law, the court accepts CliniComp's well-pleaded facts as true and has viewed them in the

light most favorable to CliniComp. Through that lens, the court concludes that Athenahealth has

failed to show by clear-and-convincing evidence that the '647 patent addressses only an abstract idea

and presents no inventive concept. The '647 patent has 55 claims. By its motion, Athenahealth

challenges only Claim 1, which is discussed in the complaint. To survive a motion to dismiss for

failure to state a claim, CliniComp must only have pleaded "enough facts to state a claim to relief

that is plausible on its face."   Bell At!.   Corp.   v.   Twombly, 550 U.S. 544, 570 (2007). On this limited

record, it cannot be said, as a matter of law, that the '647 patent involves only an abstract or generic

concept and lacks any inventive concept. The court concludes that CliniComp' s complaint, on its

face, states a plausible claim for relief.

        IT IS ORDERED that Defendant Athenahealth, Inc.'s Defendant's Motion to Dismiss for

Failure to State a Claim filed July 13, 2018 (Clerk's Document No. 21) is DENIED.

        SIGNED     this,dI day of October, 2018.

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                                                           UNI ED STATE DIST         CT JUDGE
